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 1   Lesley Weaver (Cal. Bar No.191305)            Mitchell M. Breit (pro hac vice to be sought)
     Matthew S. Melamed (Cal. Bar No.              Jason ‘Jay’ Barnes (pro hac vice to be sought)
 2   260272)                                       An Truong (pro hac vice to be sought)
     Anne K. Davis (Cal. Bar No. 267909)           Eric Johnson (pro hac vice to be sought)
 3   Angelica M. Ornelas (Cal. Bar No. 285929)     SIMMONS HANLY CONROY LLC
     Joshua D. Samra (Cal. Bar No. 313050)         112 Madison Avenue, 7th Floor
 4   BLEICHMAR FONTI & AULD LLP                    New York, NY 10016
     555 12th Street, Suite 1600                   Tel.: (212) 784-6400
 5   Oakland, CA 94607                             Fax: (212) 213-5949
     Tel.: (415) 445-4003                          mbreit@simmonsfirm.com
 6   Fax: (415) 445-4020                           jaybarnes@simmonsfirm.com
     lweaver@bfalaw.com                            atruong@simmonsfirm.com
 7   mmelamed@bfalaw.com                           ejohnson@simmonsfirm.com
     adavis@bfalaw.com
 8   aornelas@bfalaw.com
     jsamra@bfalaw.com
 9
     Elizabeth C. Pritzker (Cal. Bar No. 146267)
10   Jonathan K. Levine (Cal Bar No. 220289)
     Caroline C. Corbitt (Cal Bar No. 305492)
11   PRITZKER LEVINE LLP
     1900 Powell Street, Suite 450
12   Emeryville, CA 94608
     Tel.: (415) 692-0772
13   Fax: (415) 366-6110
     ecp@pritzkerlevine.com
14   jkl@pritzkerlevine.com
     ccc@pritzkerlevine.com
15
     Attorneys for Plaintiffs
16

17                               UNITED STATES DISTRICT COURT
18                              NORTHERN DISTRICT OF CALIFORNIA
19

20   CHASOM BROWN, et al.,                         Case No. 5:20-cv-03664-LHK
21                          Plaintiffs,
                                                   ADMINISTRATIVE MOTION TO
22          v.                                     CONSIDER WHETHER CASES SHOULD
23                                                 BE RELATED
     GOOGLE LLC,
24                          Defendant.
                                                   Civil L.R. 3-12, 7-11
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 1                                    I.     INTRODUCTION

 2          Pursuant to Civil Local Rules 3-12 and 7-11, plaintiffs in Hewitt, et al. v. Google LLC,

 3   No. 5:21-cv-02155 (N.D. Cal. Mar. 29, 2021) (“Hewitt”) move the Court to relate, but not

 4   consolidate, the case to the above-captioned action, Brown, et al. v. Google LLC, No. 5:20-cv-

 5   03664-LHK (N.D. Cal. June 2, 2020) (“Brown”), and Calhoun, et al. v. Google LLC, No. 5:20-

 6   cv-05146-LHK (N.D. Cal. July 27, 2020) (“Calhoun”).

 7          Hewitt is currently pending before Judge Labson Freeman. Brown and Calhoun were

 8   related under similar circumstances. After Calhoun’s initial assignment to Judge Freeman,

 9   Judge Freeman sua sponte referred Calhoun to this Court to consider whether Calhoun is

10   related to Brown. This Court related those actions. Dkt. 46. While some legal theories differ

11   between Hewitt, Brown and Calhoun, the Court may find similar efficiencies in litigating

12   Hewitt before the same tribunal, given that the same operative Terms of Service and policies

13   apply; that this Court has developed proficiency in analyzing their application to causes of

14   action also pled in Hewitt; that there may be some risk of different conclusions of law; and

15   coordination of the cases may be more efficient if they are pending before one Judge.

16                              II.        STATEMENT OF FACTS

17          Civil Local Rule 3-12(b) provides that “[w]henever a party knows or learns that an

18   action, filed in or removed to this district is (or the party believes that the action may be)

19   related to an action which is or was pending in this District . . . , the party must promptly file in

20   the lowest-numbered case an Administrative Motion to Consider Whether Cases Should be

21   Related.” Here, Brown is the lowest-numbered case, and both Brown and Calhoun concern

22   similar events and legal claims to those asserted in Hewitt. Declaration of Lesley E. Weaver

23   (“Weaver Decl.”) ¶¶ 3-5.

24          Brown: Plaintiffs in Brown filed their class action complaint on June 2, 2020, and their

25   First Amended Complaint on September 21, 2020. Brown asserts claims on behalf of a subset

26   of Google account holders against Google LLC (“Google”) over Google’s collection of data

27   while they are in private browsing mode. Weaver Decl., Ex. 1 ¶ 8. Plaintiffs allege Google

28   collects the following information when plaintiffs are in “private browsing mode”: (1) GET
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 1   requests, (2) IP addresses, (3) “fingerprint” data, (4) user IDs, (5) geolocation, and (6) the

 2   information contained in Google cookies. Id. ¶ 63. Plaintiffs also allege that Google associates

 3   this information with profiles it maintains on users. Id. ¶ 93.

 4          Plaintiffs in Brown seek to represent a class comprising “[a]ll individuals with a

 5   Google account who accessed a website containing Google Analytics or Ad Manager using

 6   any non-Android device and who were (a) in ‘private browsing mode’ in that device’s

 7   browser, and (b) were not logged into their Google account on that device’s browser, but

 8   whose communications, including identifying information and online browsing history,

 9   Google nevertheless intercepted, received, or collected from June 1, 2016 through the present.”

10   Id. ¶¶ 192. Plaintiffs in Brown bring claims for violations statutory and common law, and seek

11   damages, disgorgement, injunctive relief, and all other relief the Court deems appropriate. Id.

12   ¶¶ 202-266.

13          Calhoun: Plaintiffs in Calhoun filed their class action complaint on July 27, 2020,

14   asserting claims against Google for its unauthorized collection of the personal information of

15   users of Google’s Chrome when they had not enabled the browser’s “Sync” function. Weaver

16   Decl., Ex. 2 ¶¶ 1, 13. Calhoun alleges that Google collects the following information

17   regardless of whether Sync has been enabled: (1) “unique, persistent cookie identifiers”, (2)

18   “browsing history in the form of the contents of the users’ GET requests and information

19   relating to the substance, purport, or meaning of the website’s portion of the communication

20   with the user”, (3) “the contents of the users’ POST communications”; (4) “[t]he user’s IP

21   address and User-Agent information about their device”, and (5) the user’s X-Client Data

22   Header. Id. ¶ 134. Plaintiffs also allege that the collected information “is reasonably capable

23   … and … does link such information with individual consumers and their devices.” Id. ¶ 46.

24          Plaintiffs in Calhoun seek to represent a class of all persons in the United States who

25   used Google’s Chrome browser on or after July 27, 2016 without choosing to “Sync” with any

26   Google account and whose personal information was collected by Google. Id. ¶ 259. Plaintiffs

27   bring claims for breach of contract, statutory, common law and equitable claims seeking

28   damages, restitutions, disgorgement, punitive damages and injunctive relief. Id. ¶ 13.
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 1           On August 5, 2020, the Court ordered Calhoun related to Brown. Dkt. 46. However,

 2   the Court did not consolidate the cases. This was the appropriate decision, given that the cases

 3   differ in certain significant aspects.

 4           Hewitt: Plaintiffs in Hewitt filed their class action complaint on March 26, 2021, and

 5   assert claims against Google alleging that “Google sells and discloses to thousands of Google

 6   [real-time bidding] participants” the personal information of Google account holders

 7   (“Account Holders”) without authorization. Weaver Decl., Ex. 3 ¶ 12. Plaintiffs allege

 8   “Google associates . . . unique identifiers – cookies, IP addresses, User-Agent information,

 9   advertising ids, other unique device identifiers, and browsing history information – with

10   individual accounts that include names, email addresses, geolocation, and all other information

11   Google maintains on individual account holders.” Id. ¶ 58. Plaintiffs also allege that Google

12   discloses the following data: (1) “A Google ID for each account holder”; (2) “The account

13   holder’s IP address”; (3) “A Cookie-matching service that helps the recipient match the

14   account holder’s personal information up with other personal information that the recipient has

15   on the account holder”; (4) “The account holder’s User-Agent information”; (5) “The

16   Publisher ID of the website in question”; (6) “The content of the URL for the webpage where

17   the ad will be placed”; (7) “The account holder’s unique device identifier”; and (8) “‘vertical’

18   interests associated with the bid that include interests relating to race, religion, health, and

19   sexual orientation.” Id. ¶ 14.

20           Plaintiffs in Hewitt seek to represent a class comprising “all persons residing in the

21   United States with a Google Account who used the Internet on or after Google began using

22   [real-time bidding] in a manner that disclosed Account Holders’ personal information.” Id. ¶

23   233. Plaintiffs have also brought statutory claims on behalf of an alleged subclass of “All

24   Google Account Holders Who Use the Google Chrome Browser.” Id. ¶¶ 367, 385, 405.

25   Plaintiffs in Hewitt bring claims for breach of contract, violations of statutory and common

26   law, and equitable claims, and seek damages, unjust enrichment, punitive damages, injunctive

27   relief, and all other remedies permitted by law. Id. ¶ 27. At a high level, the core Brown and

28   Calhoun claims arise out of the collection of certain Chrome users’ personal information in
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 1   violation of promises not to do so under certain circumstances. Hewitt alleges a broader

 2   practice of improper collection but also widespread disclosure and sale of all Google account

 3   holders’ personal information, including but not limited to Chrome users. In short, while the

 4   legal claims require separate analysis, some core set of facts overlap, and the Court may find it

 5   efficient to deem them related. Because relation is within the discretion of the court, a

 6   stipulation does not accompany this administrative motion.

 7                                     III.   ARGUMENT

 8           Under Civil Local Rule 3-12(a), “[a]n action is related to another when: (1) [t]he

 9   actions concern substantially the same parties, property, transaction or event; and (2) [i]t

10   appears likely that there will be an unduly burdensome duplication of labor and expense or

11   conflicting results if the cases are conducted before different Judges.” Here, both criteria are

12   satisfied.

13           The actions concern substantially the same parties. All three proposed class actions are

14   brought against the same defendant—Google—and the actions seek to represent overlapping

15   classes of plaintiffs. Hewitt seeks to represent all United States Google account holders, as

16   well as subclasses including all United States Google Chrome users (Weaver Decl. Ex 3 ¶¶

17   233, 367, 385, 405), which overlap with the Brown and Calhoun classes. (Weaver Decl., Ex. 1

18   ¶ 192, Ex. 2 ¶¶ 1, 13, 259).

19           The actions also concern similar property, transactions, or events. All three actions

20   allege similar types of users’ personal information was collected or disseminated by Google,

21   although the methods of allegedly improper collection and use vary. See e.g. Weaver Decl.,

22   Exs. 1 ¶ 93 (“By tracking, collecting and intercepting users’ (including Plaintiffs’ and Class

23   members’) personal communications indiscriminately—regardless of whether users attempted

24   to avoid such tracking pursuant to Google’s instructions—Google has gained a complete,

25   cradle-to-grave profile of users[.]”); 2 ¶ 46 (“Google is reasonably capable of linking IP

26   addresses (including those linked to user agent), persistent cookie identifiers, X-client-data

27   headers, and web browsing history and information regarding a consumer’s interaction with an

28   Internet website, and, in fact, does link such information with individual consumers and their
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 1   devices.”); 3 ¶ 58 (“Google associates these unique identifiers – cookies, IP addresses, User-

 2   Agent information, advertising ids, other unique device identifiers, and browsing history

 3   information – with individual accounts that include names, email addresses, geolocation, and

 4   all other information Google maintains on individual account holders.”). Also, the personal

 5   information allegedly disclosed by Google to real-time bidding participants in Hewitt overlaps

 6   with the personal information allegedly collected by Google in Brown and Calhoun.

 7          Further, the three actions assert similar legal claims and seek similar remedies. Each

 8   action asserts causes of action for invasion of privacy, equitable claims, and some overlapping

 9   violations of statutory and common law, and both Calhoun and Hewitt assert breach of

10   contract claims. In resolving the motions to dismiss in Brown and Calhoun, the Court

11   extensively analyzed Google’s operative Terms of Service and related policies, resolving

12   complicated issues relating to consent, disclosure, incorporation of policies and certain

13   technical aspects of common claims, like the Wiretap Act and the Stored Communications

14   Act. To resolve the claims presented in Hewitt, similar analysis is required. For these reasons,

15   the Court could reasonably conclude that adjudication of these actions would create “unduly

16   burdensome duplication of labor and expense or conflicting results if the cases are conducted

17   before different Judges.” Civil L.R. 3-12(a)(2). Plaintiffs do not believe consolidation under

18   Federal Rule of Civil Procedure 42 is necessary or appropriate at this time considering that

19   Hewitt alleges that “Google shares and sells users’ personal information with Google [real-

20   time bidding] participants,” and these factual and legal claims that are not represented in

21   Calhoun or Brown. Weaver Decl., Ex. 3 ¶ 79 (emphasis added). Plaintiffs believe

22   consolidation is also not appropriate given that the Hewitt is in an early stage, whereas, the

23   Court has already issued orders on Google’s motions to dismiss the Calhoun and Brown

24   complaints. Calhoun, Dkt. 147; Brown, Dkt. 113.

25                                   IV.     CONCLUSION

26          Because the law and facts giving rise to the claims in Hewitt substantially overlap with

27   those alleged in Brown and Calhoun, undersigned counsel respectfully request that the Court

28   order the actions related but not consolidated.
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 1   Dated: April 1, 2021

 2

 3   BLEICHMAR FONTI & AULD LLP                    SIMMONS HANLY CONROY LLC

 4   By: /s/ Lesley E. Weaver                      By:     /s/ Jay Barnes
     Lesley E. Weaver (Cal. Bar No. 191305)        Mitchell M. Breit (pro hac vice to be sought)
 5
     Matthew S. Melamed (Cal. Bar No. 260272)      Jason ‘Jay’ Barnes (pro hac vice to be sought)
 6   Anne K. Davis (Cal. Bar No. 267909)           An Truong (pro hac vice to be sought)
     Angelica M. Ornelas (Cal. Bar No. 285929)     Eric Johnson (pro hac vice to be sought)
 7   Joshua D. Samra (Cal. Bar No. 313050)         112 Madison Avenue, 7th Floor
     555 12th Street, Suite 1600                   New York, NY 10016
 8   Oakland, CA 94607                             Tel.: (212) 784-6400
     Tel.: (415) 445-4003                          Fax: (212) 213-5949
 9
     Fax: (415) 445-4020                           mbreit@simmonsfirm.com
10   lweaver@bfalaw.com                            jaybarnes@simmonsfirm.com
     mmelamed@bfalaw.com                           atruong@simmonsfirm.com
11   adavis@bfalaw.com                             ejohnson@simmonsfirm.com
     aornelas@bfalaw.com
12   jsamra@bfalaw.com
13

14   PRITZKER LEVINE LLP

15   By:     /s/ Elizabeth C. Pritzker
     Elizabeth C. Pritzker (Cal. Bar No. 146267)
16   Jonathan K. Levine (Cal Bar No. 220289)
17   Caroline C. Corbitt (Cal Bar No. 305492)
     1900 Powell Street, Suite 450
18   Emeryville, CA 94608
     Tel.: (415) 692-0772
19   Fax: (415) 366-6110
     ecp@pritzkerlevine.com
20
     jkl@pritzkerlevine.com
21   ccc@pritzkerlevine.com

22
     Attorneys for Plaintiffs
23

24

25

26

27

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                                         6
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 1                  ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(i)(3)

 2          I, Lesley E. Weaver, attest that concurrence in the filing of this document has been

 3   obtained from the other signatories. I declare under penalty of perjury that the foregoing is true

 4   and correct.

 5
            Executed this 1st day of April, 2021, at Oakland, California.
 6

 7
                                                   /s/ Lesley E. Weaver
 8                                                 Lesley E. Weaver

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       Case 5:20-cv-03664-LHK Document 123 Filed 04/01/21 Page 9 of 9



 1                                  CERTIFICATE OF SERVICE

 2          I hereby certify that on April 1, 2021, I electronically filed the foregoing document

 3   using the CM/ECF system, which will send notification of such filing to all counsel of record

 4   registered in the CM/ECF system. I have also caused the foregoing document to be served on

 5   counsel of record for Brown and Calhoun via electronic and U.S. mail. I have also caused a

 6   copy foregoing document to be served on Google LLC via U.S. mail at the following address:

 7   Google LLC, C/O Corporation Service Company d/b/a CSC -Lawyers Incorporating Service

 8   (C1592199), 2710 Gateway Oaks Drive, Suite 150N, Sacramento, CA 95833.

 9          Executed this 1st day of April, 2021, at Oakland, California.

10

11

12                                                /s/ Lesley E. Weaver
                                                  Lesley E. Weaver
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